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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

  ALCON RESEARCH, LTD.,                            )
                                                   )
                            Plaintiff,             )
                                                   )
                 v.                                )    C.A. No. 16-129 (LPS) (SRF)
                                                   )
  WATSON LABORATORIES, INC.,                       )
                                                   )
                            Defendant.             )

                                     STIPULATION OF DISMISSAL

         Pursuant to Rules 41(a)(l) and 41(c) of the Federal Rules of Civil Procedure, Plaintiff

  Alcon Research, Ltd. (“Alcon”) and Defendant Watson Laboratories Inc. (“Watson”) hereby

  stipulate and agree that Alcon’s action against Watson and Watson’s action against Alcon,

  including all claims and defenses asserted by Alcon against Watson and all claims and defenses

  asserted by Watson against Alcon, are hereby dismissed with prejudice. All parties shall bear

  their own costs, disbursements and attorneys’ fees.



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  /s/ Jack B. Blumenfeld                        /s/ John C. Phillips, Jr.
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  September 27, 2018


        SO ORDERED this ___ day of ______________, 2018.



                                              ______________________________
                                              The Honorable Leonard P. Stark




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